           Case 2:11-cr-00504-WBS Document 94 Filed 12/07/12 Page 1 of 2


1
2
3
4
5
6
7
8
                         UNITED STATES DISTRICT COURT
9
                       EASTERN DISTRICT OF CALIFORNIA
10
                                 ----oo0oo----
11
12   UNITED STATES OF AMERICA,               NO. S- 11-CR-504-WBS
13             Plaintiff,
                                             ORDER
14        v.
15   JEWEL HINKLES,
          a.k.a. CYDNEY SANCHEZ,
16
               Defendant.
17                                   /
18
                                 ----oo0oo----
19
               Defendant moves for a stay of the Magistrate Judge’s
20
     Order revoking her pre-trial release and ordering her to self
21
     surrender to the United States Marshal by December 10, 2012,
22
     pending her appeal to this court of that Order.        Having reviewed
23
     the government’s Notice of Motion and Motion for Revocation of
24
     Release, with supporting Exhibits (Docket No. 77); defendant’s
25
     Opposition to Motion for Revocation of Release (Docket No. 89);
26
     Defendant Jewel Hinkles’ Emergency Request for Stay, Appeal of
27
     Order, and Request for Hearing, (Docket No. 91); and the United
28

                                         1
              Case 2:11-cr-00504-WBS Document 94 Filed 12/07/12 Page 2 of 2


1    States’ Memorandum in Opposition to Defendant Hinkles’ Request
2    for Stay, Appeal of Order and Request for a Hearing (Docket No.
3    92), and good cause appearing,
4         IT IS HEREBY ORDERED that:
5         1.      Defendant’s request for stay of her surrender,
6                 currently set for December 10, 2012, is DENIED; and
7         2.      Defendant’s Appeal of the Magistrate Order entered on
8                 December 5, 2012, revoking defendant’s pre-trial
9                 release is set for hearing on       December 20, 2012 at
10                9:30 a.m.
11   DATED:    December 6, 2012

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2
